Case 2:23-cv-01218-JES-KCD               Document 284         Filed 04/04/25          Page 1 of 9 PageID 6025




                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
  Danesh Noshirvan


  v.                                                                 2:23-cv-01218
  Jennifer Couture, et al



       NON-PARTY MOVANT (#2) MOTION TO QUASH SUBPOENA AND FOR SANCTIONS AND
      FOR ASSIGNMENT OF COUNSEL TO REPRESENT “MOVANT 2” TO PROTECT HIS RIGHT TO
                                 ANONYMOUS SPEECH
  COMES NOW Movant, proceeding pro se as John Doe 2 / Jane Roe 2, and respectfully
  moves this Honorable Court to quash the subpoena apparently1 issued to Google LLC by
  Plaintiff Danesh Noshirvan, through his counsel, in the above-captioned case, pursuant to
  Federal Rule of Civil Procedure 45(d)(3), and to impose sanctions under Rule 45(d)(1) to
  prevent further abuse of the subpoena process by Plaintiff. Movant is a non-party whose
  identity is unknown to the parties and whose records are sought in connection with an
  alleged matter unrelated to Movant. In support of this Motion, Movant states as follows:
  GROUNDS FOR MOTION TO QUASH
        1. Non-Party Status and Lack of Relevance: Movant is not a party to this action and
           has no direct involvement in the dispute between Plaintiff and Defendant. The
           subpoena presumably seeks records not reasonably calculated to lead to the
           discovery of admissible evidence relevant to the claims or defenses in this case, as
           required by Federal Rule of Civil Procedure 26(b)(1).
        2. Undue Burden and Privacy Violation: The subpoena imposes an undue burden on
           Movant by seeking private and sensitive records (e.g., email communications,
           account data, and personally identifiable information) that could enable Plaintiff to
           further a campaign of harassment against individuals who oppose his conduct
           online. Plaintiff has not demonstrated necessity or particularized relevance, violating
           Movant’s privacy rights under the First and Fourth Amendments.
        3. Failure to Identify Movant: The subpoena does not identify Movant by name, instead
           relying on broad or speculative criteria to obtain records. This overbreadth renders



  1
      Movant has not seen the Subponea, has not directly been served in any manner.
Case 2:23-cv-01218-JES-KCD        Document 284       Filed 04/04/25      Page 2 of 9 PageID 6026




        it defective under Rule 45(a)(1)(A)(iii), which requires reasonable specificity in
        describing the items sought.
     4. First Amendment Protection: To the extent the subpoena targets Movant’s online
        speech, it infringes on Movant’s First Amendment right to anonymous expression.
        Unmasking anonymous speakers requires a heightened showing of need, which
        Plaintiff has not met. See Dendrite Int’l, Inc. v. Doe, 775 A.2d 756 (N.J. App. Div.
        2001).
     5. Overbroad Subpoena: Movant #2 is not Movant #1 or Joseph A. Camp, or any
        party to this case, nor mentioned in any of the pleadings except by his alias, which
        is attributed incorrectly to Joseph A. Camp:
            1. Movant #2 presents the following additional facts after receiving a copy of
               the subpoena (or what is purported to be a copy of the subpoena as Movant
               has not been served):
                   1. The overbroad subpoena requests personal identification information
                      for a series of accounts, seemingly without consideration if they could
                      produce anything of merit to the current case:
                   2. The convoluted “schedule” attached to the subpoena lists the
                      following accounts in which it is seeking Google, LLC’s compliance
                      with:

                                        • noshirvan@yandex.com
                                        • Josephacamp@yandex.com
                                        • campjosepha@gmail.com
                                        • anamericanhostage@facebook.com
                                        • joey@joeycamp2020.com
                                        • Jac13750@ucmo.edu
                                        • daneshfiles@yandex.com
                                        • YouTube Account: josephacamp8732
                   3. To begin with, there is no feasible explanation, except abuse of
                      subpoena and bad faith litigation practices for Plaintiff to seek
                      records from Google for services and products that Google does not
                      control, i.e. @Yandex.com, @JoeyCamp2020.com, @ucmo.edu, and
                      @Facebook.com.
                   4. Secondly, the obvious attempt to seek records unrelated to this
                      matter is apparent in the list of decade old accounts that have no
                      bearing whatsoever on the instant case.
                         1. Facebook discontinued their use of providing user email
                             address and services with their @facebook.com domain in
Case 2:23-cv-01218-JES-KCD      Document 284      Filed 04/04/25    Page 3 of 9 PageID 6027




                           2014 and has since deleted all records as of 2019
                           surrounding the once provided service.
                        2. The University of Central Missouri (ucmo.edu) made clear in
                           their indictment against Joseph A. Camp in 2010 that they
                           disconnected his email account in December of 2010, and
                           then later, in 2012 the University announced that they suffered
                           another breach which resulted in a complete loss of their
                           entire email system and required them to seek another email
                           provider.
                        3. JoeyCamp2020.com is not a Google domain rather a
                           hover.com domain and MX (email) records provider:




                  5. The YouTube Channel in question was created in August 2013,
                      during which time Joseph A. Camp was incarcerated for the events
                      that happened at the University of Central Missouri, which means that
                      the YouTube channel was rebranded to mock and mimic Joseph A.
                      Camp, but could not possibly be him.
           2. Regarding the Yandex accounts, by attempting to seek the Yandex records, a
              non-Google, no United States entity, via this subpoena, instead of seeking
              the records directly with Yandex, is nothing short of fishing. The instant
              complaint in this matter lists scores of alleged aliases purportedly being
              “Joseph A. Camp” without any proof. Not all are listed on this subpoena
              because, for example the identity of TheResearcher2020@yandex.com was
              discovered in the Dominion Voting Systems v. Donald J. Trump litigation,
              and it is not Joseph A. Camp.
Case 2:23-cv-01218-JES-KCD        Document 284       Filed 04/04/25    Page 4 of 9 PageID 6028




            3. Danesh Noshirvan is a criminal doxer. He has doxed several of the United
               States Supreme Court justices when they made decisions he did not agree
               with, Danesh Noshirvan has doxed an innocent man in Texas to suicide -
               which Danesh Noshirvan is under grand jury investigation for, and has doxed
               over 600 individuals, including minors. His most recent doxing threat is
               directed to Middle District of Florida, Magistrate Judge Kyle Dudek:




            4. The subpoena is nothing short of an extremely broad, extremely disgusting,
               attempt to unmask a series of anonymous victims of Danesh Noshirvan
               under the guise of a judicial subpoena, while making implied threats towards
               the Magistrate Judge who has to rule on this Motion.
            5. Movant has a right, to anonymously or otherwise, criticize a public figure
               such as Danesh Noshirvan, accused of Child Pornography (which got his
               OnlyFans suspended for refusing to comply with identification requirements),
               doxxing, and association with other criminals such as James McGibney,
               “CredibleIntel” (recently real life stalking of the Plaintiffs), and under
               investigation and grand jury in Texas for his conduct that lead an innocent
               man to commit suicide.
  MEMORANDUM OF LAW
  The Court must quash a subpoena under Rule 45(d)(3)(A) if it: (i) fails to allow reasonable
  time to comply; (ii) requires disclosure of privileged or protected matter; (iii) subjects a
  person to undue burden; or (iv) exceeds geographic limits. This subpoena fails on multiple
  grounds:
Case 2:23-cv-01218-JES-KCD         Document 284        Filed 04/04/25      Page 5 of 9 PageID 6029




     •   It subjects Movant, a non-party, to undue burden by seeking private records
         without justification (Rule 45(d)(3)(A)(iv)). Specifically, it risks exposing Movant to
         doxing and harassment by Plaintiff and his counsel.
     •   It threatens disclosure of protected anonymous speech without a compelling need
         (Rule 45(d)(3)(A)(ii)). The domain and email use in question are not unique to
         Movant but are widely shared across forums and blogs by individuals criticizing
         Plaintiff’s conduct, rendering Movant’s identity irrelevant.
     •   Its overbreadth and lack of specificity violate procedural requirements (Rule
         45(a)(1)(A)(iii)). If Plaintiff seeks to connect Movant to a specific party or non-party,
         the proper procedure is through that party. Plaintiff’s failure to name an essential
         non-party as a defendant further undermines the subpoena’s legitimacy.
  GROUNDS FOR SANCTIONS
     6. Abuse of Subpoena Process: Plaintiff’s issuance of this overbroad and unjustified
        subpoena—consistent with a pattern of similar actions—demonstrates a failure to
        take reasonable steps to avoid undue burden or expense on Movant, a non-party, in
        violation of Rule 45(d)(1). Plaintiff has not shown a good-faith basis for seeking
        Movant’s records, suggesting harassment or a fishing expedition unrelated to the
        case’s merits. The subpoena’s presumed unlimited scope, if consistent with
        Plaintiff’s prior attempts, seeks records beyond the relevant time period of the
        dispute, further evidencing bad faith.
     7. The subpoena is so broad, it seeks records related to non-United States jurisdiction
        entities (such as Yandex) from an individual alleged in “Mexico, Honduras or Belize”,
        from another entity that has no control over nearly any of the records requested
        (Facebook, UCMO, Yandex) and records that couldn’t possibly have any bearing on
        the case -as they records would be more than 12 years prior to any of the instant
        matters at hand.
Case 2:23-cv-01218-JES-KCD      Document 284      Filed 04/04/25   Page 6 of 9 PageID 6030




        and attempting to attribute a YouTube channel to an individual who was in a
        maximum-security prison at the time the account was created:
Case 2:23-cv-01218-JES-KCD        Document 284      Filed 04/04/25     Page 7 of 9 PageID 6031




     8. Deterrence: Sanctions are warranted to prevent Plaintiff’s repeated misuse of the
        subpoena process, which chills protected speech and burdens non-parties without
        cause. This is not Plaintiff’s first attempt to improperly fish for details from
        protected non-parties, hoping they lack the means or capability to challenge such
        actions. Sanctions should be at least $100,000.00 per instance of misuse and bad
        faith attempt to use the subpoena process.
     9. Discovery in this matter has ended: Plaintiff has had this matter pending for a long
        time and is only now seeking the information in the subpoena. His motive of using
        delay tactics is harassment.
  GROUNDS FOR APPOINTMENT OF COUNSEL
     •   Protection of First Amendment Rights: This dispute involves Movant’s fundamental
         right to anonymous speech under the First Amendment, a complex constitutional
         issue requiring legal expertise to defend against Plaintiff’s attempt to unmask
         Movant via an overbroad subpoena.
     •   Complexity of Legal Issues: The motion raises intricate procedural and substantive
         questions under Federal Rule of Civil Procedure 45, First and Fourth Amendment
         jurisprudence, and case law on anonymous speech (e.g., Dendrite Int’l, Inc. v. Doe),
         which Movant, as a pro se non-party, lacks the training to navigate effectively.
     •   Disparity in Representation: Plaintiff is represented by counsel, creating an
         imbalance of legal skill and resources that disadvantages Movant, particularly given
         Plaintiff’s pattern of aggressive and allegedly abusive subpoena tactics.
Case 2:23-cv-01218-JES-KCD        Document 284      Filed 04/04/25     Page 8 of 9 PageID 6032




     •   Risk of Harassment and Doxing: The subpoena threatens Movant with doxing and
         harassment by Plaintiff, heightening the stakes and necessitating counsel to
         safeguard Movant’s anonymity and personal safety throughout this dispute and any
         appeals.
     •   Non-Party Status: As a non-party, Movant has no direct stake in the underlying case
         yet faces significant burdens, making legal representation critical to avoid unfair
         prejudice from Plaintiff’s actions.
     •   Pattern of Abuse by Plaintiff: Plaintiff’s repeated issuance of overbroad subpoenas
         suggests ongoing misuse of the judicial process, requiring counsel to monitor and
         counter future attempts that could further infringe on Movant’s rights.
     •   Inability to Self-Represent Effectively: Movant lacks the legal knowledge and
         resources to draft motions, argue in court, or handle appeals pro se, especially
         against a represented party with a history of exploiting such vulnerabilities.
     •   Public Interest in Anonymity: Assigning counsel serves the broader public interest
         by ensuring non-parties can challenge improper subpoenas without fear of
         exposure, preserving the integrity of anonymous online speech.
     •   Potential for Appeals: If this motion is denied, an appeal may be necessary to
         protect Movant’s rights, and appellate proceedings demand a level of legal
         sophistication beyond Movant’s pro se capacity.


  REQUEST FOR RELIEF
  WHEREFORE, Movant respectfully requests that this Court:
     1. Grant this Motion to Quash the subpoena(s) issued to Google LLC;
     2. Stay the current subpoena, seek details of any other potentially related or
        additional subpoenas by Plaintiff, and stay them as well;
     3. Protect Movant’s anonymity by allowing this Motion to proceed under the
        pseudonym John Doe/Jane Roe;
     4. Impose sanctions of $100,000.00 on Plaintiff under Rule 45(d)(1), including
        Movant’s costs incurred in preparing and filing this Motion, and any further relief to
        deter continued abuse of the subpoena process;
     5. Appoint counsel to represent Movant anonymously in this dispute moving forward,
        including any appeals, due to the complexity of the legal issues involved, the
        significant First Amendment rights at stake, and Movant’s inability to adequately
        protect these interests pro se against Plaintiff’s ongoing misuse of the judicial
        process;
Case 2:23-cv-01218-JES-KCD       Document 284      Filed 04/04/25    Page 9 of 9 PageID 6033




     6. Grant such other and further relief as the Court deems just and proper.
  DATED this 4th day of April, 2025.
  Respectfully submitted,
  JOHN DOE 2 / JANE ROE 2
